       Case 3:23-cv-01710-AMO Document 67 Filed 05/01/23 Page 1 of 2



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14
                                  UNITED STATES DISTRICT COURT
15
                                 NORTHERN DISTRICT OF CALIFORNIA
16
                                     SAN FRANCISCO DIVISION
17
     FEDERAL TRADE COMMISSION,                      Case No. 3:23-cv-01710
18
                    Plaintiff,                      RESPONSE OF DEFENDANT BLACK
19                                                  KNIGHT INC. TO CLERK’S NOTICE
               v.
20                                                  Judge:     Hon. Araceli Martínez-Olguín
     INTERCONTINENTAL EXCHANGE, INC.
21   and BLACK KNIGHT, INC.

22                  Defendants.

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                    RESPONSE OF DEFENDANT BLACK KNIGHT INC. TO CLERK’S NOTICE
                                       Case No. 3:23-cv-01710
     2130469
       Case 3:23-cv-01710-AMO Document 67 Filed 05/01/23 Page 2 of 2



 1             Pursuant to the April 28, 2023, Clerk’s Notice (Dkt. 66), Defendant Black Knight, Inc.

 2   confirms that R. James Slaughter and Khari Tillery, who will attend the May 12, 2023, Case

 3   Management Conference on behalf of Black Knight, will have full authority to enter into

 4   stipulations and make admissions pursuant to the Northern District of California’s general

 5   standing order on Joint Case Management Statements. Black Knight appreciates the Court’s

 6   excusing lead counsel from attending the conference so that he may attend his daughter’s

 7   graduation.

 8
     Dated: May 1, 2023                                       KEKER, VAN NEST & PETERS LLP
 9

10
                                                       By:    /s/ Elliot R. Peters
11                                                            ELLIOT R. PETERS
                                                              R. JAMES SLAUGHTER
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13                                                            Attorneys for Defendant
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18                                                            BLACK KNIGHT, INC.
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